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                             IN THE LTNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


I.INITED STATES OF AMEzuCA,                            )
                                                       )
                Plaintiff,                             )

                                                                        22-69 WJ
                                                       )
        vs.                                            )    Cr. No.
                                                       )
BENNICK YAZZTE,                                        )
                                                       )
                Defendant.                             )




                                       PLEA AGREEMENT

        Pursuant to Rule 1l(c)(1)(C), Fed. R. Crim. P., the parties notify the Court of the

following agreement between the United States Attorney for the District of New Mexico, the

Defendant, Bennick Yazzie, and the Defendant's counsel Rachel A. Nathanson:

                               REPRESENTATION BY COUNSEL

        1.      The Defendant understands the Defendant's right to be represented by an attorney

and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the

Defendant's attorney and is fully satisfied with that attorney's legal representation.

                                 RIGHTS OF THE DEFENDAI\T

       2.       The Defendant further understands the Defendant's rights:

                a.      to be prosecuted by indictment;

                b.      to plead not guilty, or having already so pleaded, to persist in that plea;

                c.      to have a trial by jury; and

                d.      at atrial:

                        1)      to confront and cross-examine adverse witnesses,
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                        2)       to be protected from compelled self-incrimination,

                        3)       to testify and present evidence on the Defendant's own behalf, and

                        4)       to compel the attendance of witnesses for the defense.

                        WAIVER OF RIGHTS AIID PLEA OF GUILTY

         3.      The Defendant agrees to waive these rights and to plead guilty to Count 1 of the

information, charging a violation of l8 U.S.C. $$ I 153 and2243(a), that being Sexual Abuse of

a   Minor.

                                             SENTENCING

         4.      The Defendant understands that the maximum penalty provided by law for this

offense is:

                 a.     imprisonment for a period of not more than 15 years;

                 b.     a fine not   to exceed the greater of $250,000 or twice the pecuniary gain to

                        the Defendant or pecuniary loss to the victim;

                 c.     a term   ofsupervised release ofnot less than 5 years to life to follow any

                        term of imprisonment. (If the Defendant serves a term of imprisonment, is

                        then released on supervised release, and violates the conditions   of

                        supervised release, the Defendant's supervised release could be revoked

                            even on the last day of the term       and the Defendant could then be
                        -                                      -
                        returned to another period of incarceration and a new term of supervised

                        release.);

                 d.     a mandatory special    penalty assessment of 9100.00; and

                 e.     restitution as may be ordered by the Court.


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        5.     The parties recognize that the federal sentencing guidelines are advisory, and that

the Court is required to consider them in determining the sentence it imposes.

       6.      The parties are aware that the Court      will   decide whether to accept or reject this plea

agreement. The Court may defer its decision        as   to acceptance or rejection until there has been an

opportunity to consider the presentence report. Pursuant to Federal Rule of Criminal Procedure

l1(c)(5), if the Court rejects this plea agreement, the defendant shall have the right to withdraw

the defendant's plea of guilty.

       7   .   Regardless of any other provision in this agreement, the United States reserves the

right to provide to the United States Pretrial Services and Probation Office and to the Court any

information the United States believes may be helpful to the Court, including but not limited to

information about the recommendations contained in this agreement and any relevant conduct

under U.S.S.G. $ 181.3.

                                  ELEMENTS OF TIIE OFFENSE

       8.      If this matter proceeded to trial, the Defendant understands that the United         States

would be required to prove, beyond a reasonable doubt, the following elements for violations of

the charges listed below:

       Count 1: 18 U.S.C. S8 1153" 2243( a that being, Sexual Abuse of a Minor

               First:             The defendant knowingly engaged in a sexual act with Jane Doe;

               Second;            At the time of the sexual act,Jane Doe had reached the age of
                                  twelve years but had not yet reached the age ofsixteen years;

               Third:             At the time of the sexual act, Jane Doe was at least four years
                                  younger than the defendant;

               Fourth:            The defendant is an Indian; and


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               Fifth:   The offense occurred in Indian Country within the District of New Mexico.

                               DEFENDANT'S ADMISSION OF FACTS

          9.      By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize

and accept responsibility for my criminal conduct. Moreover, in pleading guilty,           I acknowledge

that   if I chose to go to trial instead of entering this plea, the United   States could prove facts

sufficient to establish my guilt of the offense(s) to which I am pleading guilty beyond a

reasonable doubt, including any facts alleged in the information that increase the statutory

minimum or maximum penalties. I specifically admit the following facts related to the charges

against me, and declare under penalty of perjury that all of these facts are true and correct:

          On or about between the dates of October 26. 2019 to October 25. 2020.              I performed
          a sex act on Jane Doe bv removins her                   and then placins my mouth on her

          vulva and mv tongue in her vagina. Jane Doe is mv wife's dauqhter. At the time                   I
          performed oral sex on Jane Doe"        I   knew she was thirteen-years-old and I was more

          than four years older than her.        I   am a member of the Navaio Nation. and this

          occurred within the Navaio Nation Reservation.



          10.     By signing this agreement, the Defendant admits that there is a factual basis for

each element of the crime(s) to which the Defendant is pleading guilty. The Defendant agrees

that the Court may rely on any of these facts, as well as facts in the presentence report, to

determine the Defendant's sentence, including, but not limited to, the advisory guideline offense

level.



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                          RBCOMMENDATIONS

11.   The United States and the Defendant recommend as follows:

      a.     The Defendant and the United States have made an AGREEMENT

             pursuant to Federal Rule of Criminal Procedure    1   I (c)( I )(C)   , that a specific

             sentence of 57 months of imprisonment is the appropriate disposition in

            this case. This agreement takes into account the Defendant's acceptance of

            responsibility, with no further reduction to occur. The remaining

            components of the Defendant's sentence, including but not limited to any

            fine or restitution and the length and conditions of supervised release, shall

            be imposed by the Court after the presentation of evidence andlor

            argument by the parties.

      b.    The Defendant and the United States have conferred regarding the

            applicable United States Sentencing Commission Guidelines and agree

            and stipulate that that USSG $2A3.2(c)(1) does not apply.

      c.    The Defendant and the United States agree that USSG $a81.5(b)(1) is

            applicable.

      d.    If the Court accepts the plea agreement, it must inform the Defendant that

            the agreed upon disposition    will be included in the judgment,         and the

            Court is bound by the terms of the plea agreement once the Court accepts

            the plea agreement.




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                           DEFENDAI\T'S ADDITIONAL AGREEMENT

          12.      The Defendant understands the Defendant's obligation to provide the United

States Pretrial Services and Probation Office with truthful, accurate, and complete information.

The Defendant represents that the Defendant has complied with and           will continue to comply with

this obligation.

          13.      The Defendant agrees that any financial records and information provided by the

Defendant to the Probation Office, before or after sentencing, may be disclosed to the United

States   Attorney's Office for use in the collection of any unpaid financial obligation.

          14.      Except under circumstances where the Court, acting on its own, rejects this plea

agreement, the Defendant agrees that, upon the Defendant's signing of this plea agreement, the

facts that the Defendant has admitted under this plea agreement as set forth above, as well as any

facts to which the Defendant admits in open court at the Defendant's plea hearing, shall be

admissible against the Defendant under Federal Rule of Evidence 801(dX2XA) in any

subsequent proceeding, including a criminal trial, and the Defendant expressly waives the

Defendant's rights under FederalRule of Criminal Procedure I l(f) and Federal Rule of Evidence

410 with regard to the facts the Defendant admits in conjunction with this plea agreement. The

Court has not acted on its own     if   its rejection of the plea agreement occurs after Defendant has

expressly or implicitly suggested to the Court a desire or willingness to withdraw his or her plea

or not to be bound by the terms of this plea agreement.

          15.      By signing this plea agreement, the defendant waives the right to withdraw the

defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure I l(d) unless (1) the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I l(c)(5) or (2)



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the defendant can show a fair and just reason as those terms are used in Rule       1I   (d)(2)(B) for

requesting the withdrawal. Furthernore, defendant understands that if the court rejects the plea

agreement, whether or not defendant withdraws the guilty plea, the United States is relieved             of

any obligation it had under the agreement and defendant shall be subject to prosecution for any

federal, state, or local crime(s) which this agreement otherwise anticipated would be dismissed

or not prosecuted.

        16.    The Defendant recognizes that this plea agreement has already conferred a benefit

on the Defendant. Consequently, in return for the benefit conferred on the Defendant by

entering into this agreement, the Defendant agrees not to seek a downward departure or variance

from the specific sentence of 57 months imprisonment as agreed to by the parties pursuant to

Rule 1l(c)(lXC) of the Federal rules of Criminal Procedure. If the Defendant, in violation of this

paragraph, should nevertheless seek a downward departure or variance, including a departure or

variance from the guideline Criminal History Category, the United States shall have the right to

treat this plea agreement as null and void and to proceed to trial on all charges before the Court.

                                             RESTITUTION

        17.    The parties agree that, as part of the Defendant's sentence, the Court        will   enter an

order of restitution pursuant to the Mandatory Victim's Restitution Act, 18 U.S.C. $ 36634.

                SEX OFFENDER REG                     TION AI\D NOTIFICATION

        18.    The Defendant understands that by pleading guilty, the Defendant           will   be required

to register as a sex offender upon the Defendant's release from prison as a condition of

supervised release pursuant to 18 U.S.C. $ 3583(d). The Defendant also understands that

independent of supervised release, the Defendant     will be subject to federal   and state sex offender



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registration requirements, and that those requirements may apply throughout the Defendant's life.

The Defendant understands that the Defendant shall keep the Defendant's registration current,

shall   notiff the state sex offender registration agency or agencies ofany   changes to the

Defendant's name, place of residence, employment, or student status, or other relevant

information within three business days after such change. The Defendant shall comply with

requirements to periodically verify in person the Defendant's sex offender registration

information. The Defendant understands that the Defendant will be subject to possible federal

and state penalties for failure to comply with any such sex offender registration requirements.      If
the Defendant resides in New Mexico following release from prison, the Defendant         will   be

subject to the registration requirements of NMSA 1978 $       29-l1A-l to 10. The Defendant further

understands that, under   l8 U.S.C. $ 4042(c), notice will   be provided to certain law enforcement

agencies upon the Defendant's release from confinement following conviction.

          19.    As a condition of supervised release, the Defendant shall initially register with the

state sex offender registration in New Mexico and shall also register with the state sex offender

registration agency in any state where the Defendant resides, is employed, works, or is a student,

as directed by the Probation   Officer. The Defendant shall comply with all requirements of

federal and state sex offender registration laws, including the requirements to update the

Defendant's registration information. The Defendant shall provide proof of registration to the

Probation Officer within 72 hours of release from imprisonment.

                                 WAIVER OF APPEAL RIGHTS

         20.     The Defendant is aware that28 U.S.C. $      l29l   and 18 U.S.C. 5 3742 afford a

defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the



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Defendant knowingly waives the right to appeal the Defendant's conviction(s) and any sentence,

including any fine, imposed in conformity with this Fed. R. Crim. P. I l(c)(1)(C) plea agreement,

as   well as any order of restitution entered by the Court. The Defendant also waives the right to

appeal any sentence imposed below or within the Guideline range upon a revocation          of

supervised release in this cause number. The Defendant also waives the right to appeal the denial

of any motion filed under 18 U.S.C. $ 3582(cXl)(A) where such denial rests in any part upon the

court's determination that "extraordinary and compelling reasons" for a sentence reduction are

lacking or that a sentence reduction is not warranted under the factors set forth in l8 U.S.C.    $


3553(a). In addition, the Defendant agrees to waive any collateral attack to the Defendant's

conviction(s) and any sentence, including any fine, pursuant to 28 U.S.C. $$ 2241 or 2255, or

any other extraordinary writ, except on the issue of defense counsel's ineffective assistance.

                       GOVERNMENT'S ADDITIONAL AGREEMENT

         21.     Provided that the Defendant fulfills the Defendant's obligations as set out above,

the United States agrees that:

                 a.     The United States   will not bring additional criminal   charges against the

                        Defendant arising out of the facts forming the basis of the present

                        information.

         22.     This agreement is limited to the United States Attorney's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting

authorities.




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                                       VOLUNTARY PLEA

        23.     The Defendant agrees and represents that this plea of guilty is freely and

voluntarily made and is not the result of force, threats, or promises (other than the promises set

forth in this agreement and any addenda). The Defendant also represents that the Defendant is

pleading guilty because the Defendant is in fact guilty.

                             VIOLATION OF PLEA AGREEMENT

       24.     The Defendant agrees that if the Defendant violates any provision of this

agreement, the United States may declare this agreement null and void, and the Defendant        will

thereafter be subject to prosecution for any criminal violation, including but not limited to any

crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false

statement, obstruction ofjustice, and any other crime committed by the Defendant during this

prosecution.

                                    SPECIAL ASSESSMENT

       25.     At the time of sentencing, the Defendant will tender to the United States District

Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico

87102, a money order or certified check payable to the order of the United States District Court

in the amount of   $l!Q in payment of the special penalty   assessment described above.

                                 ENTIRETY OF AGREEMENT

       26.     This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in   writing and signed by all parties. This agreement

is effective upon signature by the Defendant and an Assistant United States Attomey.




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        AGREEDToANDSIGNED nu"                //    aayor ?CLl*iluUzozr
                                                       FRED J. FEDERICI
                                                       United States Attomey




                                                                   N, VAN D
                                                       Special Assistant                Attorney
                                                       Post Office Box 607
                                                       Albuquerque, New Mexico 87102
                                                       (s}s) 346-7274


        I have carefully discussed every paft of this agreement with my client. Fufiher, I have
fully advised my client of rny client's rights, of possible defenses, of the sentencing factors set
forlh in 18 U.S.C. $ 3553(a), of the relevant Sentencing Guideliqes provisions, and of the
consequences of enteling into this agleement. In addition, I have explained to my client the
elements to each offense to which shelhe is pleading guilty. To my larowledge, my client's
decision to enter into this agreement is zrn infonned and voluntary one.




                                                                  A.
                                                                 for the Defendant

       I have carefully discussed evely paft of this agleement with my attorney. I understand the
terms of this agleement, and I voluntalily agree to those terms. My attorney has advised me of
my rights, of possible defenses, of the sentencing factors set forth in l8 U.S.C. $ 3553(a), of the
relevant Sentencing Guidelines provisions, and of the consequences of entering into this
agreement.




                                                       BENNICKYAZF
                                                       Defendant




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